                                                                Defendant's Exh. 4
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       SRR Training, NESPIN and the Greenwich, CT Police Department present
      Proactive Drug Interdiction and Vehicle Concealment
         The last three times this class has been offered in New England it has SOLD OUT. This one will too! Register early!
This 2-day course is designed for patrol officers, K-9 officers, counter-terrorism officers, special agents, narcotics officers, highway interdiction
officers, state troopers, investigators and any law enforcement officers interested in identifying drug smugglers and terrorists regardless of rank for one
simple reason: The interdiction of drugs is often the beginning of an investigation rather than the final goal.

This is an advanced course in drug and criminal interdiction on our public ways taught by one of the foremost experts in the Nation. No other course
offers the experience and knowledge that will be shared over the course of two days. It all starts with the patrol officer. We all have had hunches about
drug couriers, even who they are, but how many times have we been behind a suspect and just let them go because we didn't think we had enough to
stop them for? This course will teach you how to identify irrefutable probable cause, how to make the stop with officer safety and survival being
paramount and know where to look for hidden compartments in cars, trucks, vans and SUV’s. It will cover the latest court cases in relation to search
and seizure, case law relating to motor vehicle stops and teach proven field interview techniques to yield additional evidence. Learn how to review and
analyze false documents, properly seize currency, write reports with proper, descriptive phraseology and review anticipated court testimony as well as
common attacks on police officers by defense attorneys when the case enters the trial phase.

This course could stop at this point, but goes on to focus on the connection between drug smuggling and international terrorism. Serious concerns are
now be realized with the movements of drugs by organized gangs such as MS-13. Narco-terrorism: the drug-terror connection, is a term that every
law enforcement officer in our Nation should be familiar with. This class will teach you how to "think outside of the box" when it comes to this issue
and how to proactively interdict these initiatives.

Workshop Content:

 Proactive Drug Interdiction                                                       The Current Narcotics Threat Across the United States
 Narco-terrorism: The drug-terror Connection                                       Identifying Drug Smugglers and Terrorists
 Identifying Hidden Compartments and Stashes                                       Identifying Fraudulent Documents
 Field Interview Techniques                                                        Officer Safety and Survival
 Recognizing Drug and Criminal Indicators                                          Developing Probable Cause for Arrest and Search
 Detecting Drug Concealment Areas                                                  Easily Identifying Electronic Activation Switches, Wiring and
                                                                                   Mechanical Devices for Opening and Closing Hidden Compartments

Cost: $325.00 per person
Where: Greenwich Police Department, 11 Bruce Place, Greenwich, CT 06830
When: May 28-29, 2020
Check-in: 7:30AM – 8:00AM Class Hours: 8:00AM – 4:00PM
To Register: Please register at www.srrtraining.com
Purchase Orders and/or Checks Should be Sent to: SRR Traffic Safety Consulting, LLC, 7 Marion Avenue, Andover, MA 01810
Inquiries can be Directed to: Chief Reggie Redfern (Ret.) Phone: 413-626-9554 Email: reggie@srrtraining.com
                                Sgt. Dave Hall, Training Supervisor Greenwich, PD Phone: 203-622-3353 Email: Dave.Hall@greenwichct.org

Instructor: Mike Conner is a Sergeant with the Maryland State Police, Pro-Active Criminal Enforcement Team (PACE). He currently serves as the
agency Interdiction expert and Interdiction training coordinator. In addition to his duties associated with interdiction, Mike serves as an associate instructor for
the Maryland State Police Academy where he teaches Criminal Patrol, First line supervision, and Fair Impartial Policing.

Mike has over twenty years of criminal interdiction experience and is an original member of the most successful criminal interdiction team in State Police
history. Mike has personally seized or contributed to the seizure of millions of dollars in US Currency, as well as hundreds of pounds of cocaine, marijuana,
heroin and ecstasy. He is an expert in criminal interdiction and expert in passenger vehicle concealment, specifically with hidden compartments used by
sophisticated Drug Trafficking Organizations (DTO). Mike has taught for Federal Agencies like the Northeast Counterdrug Training Center,
Multijurisdictional Counterdrug Task Force Training, Middle Atlantic-Great Lakes Organized Crime Law Enforcement Network, National Criminal
Enforcement Association, Drug Interdiction Assistance Program, El Paso Intelligence Center and the FBI National Academy. In addition to aforementioned
agencies Mike has taught for countless local and state agencies.

Mike has been awarded two of the highest awards from the state police for his hard work and dedication. In 2004 he received the Maryland State Police
Trooper of the Year and Maryland State Police Alumni Trooper of the year. Mike joined the growing list of professional instructors for SRR Training in
2011.
